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 1 ERIN J. RADEKIN
     Attorney at Law – SBN 214964
 2 2012 H Street, Suite 200
     Sacramento, CA 95811
 3 Telephone: (916) 504-3931
     Facsimile: (916) 447-2988
 4 Email: erinjradekin@gmail.com

 5 Attorney for Defendant
     SHARMISTHA BARAI
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   THE UNITED STATES OF AMERICA,                    CASE NO. 2:16-CR-00217-DC-SCR
13                                  Plaintiff,        STIPULATION AND [PROPOSED] ORDER
14                           v.                       MODIFYING BRIEFING SCHEDULE RE:
                                                      RESPONSE TO ECF NO. 443
15   SHARMISTHA BARAI,
16                                 Defendant.
17

18
             The United States, by and through its attorney of record, Katherine Lydon, and defendant
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     Sharmistha Barai, by and through her attorney of record, Erin J. Radekin, respectfully submit
20

21 this stipulation and proposed order modifying the due date for Ms. Barai’s response to the

22 government’s motion for a waiver of the attorney-client privilege, ECF No. 443.

23
             The parties agree and stipulate as follows:
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             1. On May 12, 2025, the Magistrate Judge Sean C. Riordan issued an order directing Ms.
25

26 Radekin to respond to the government’s Motion for Order Re Waiver of Attorney-Client

27 Privilege, ECF No. 443, and Memorandum Re Briefing Schedule, ECF No. 444, by May 26,

28
     2025.
                                                      1
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             2. Ms. Radekin indicated in a prior stipulation to modify the briefing schedule that she
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 2 did not object to the government’s memorandum regarding the briefing schedule pertaining to

 3 Ms. Barai’s and codefendant Satish Kartan’s pending 28 U.S.C. § 2255 motions. ECF No. 455

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     at pp. 1-2.
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             3. On June 18, 2025, the Magistrate Judge adopted the parties’ stipulation to modify the
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 7 briefing schedule pertaining to the government’s motion for waiver of the attorney-client

 8 privilege such that Ms. Barai’s response to the motion is due July 7, 2025. ECF No. 459.

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             4. Ms. Radekin has provided a proposed stipulation regarding a limited waiver of the
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     attorney-client privilege to Ms. Lydon. Ms. Radekin was on a long-planned vacation from June
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12 23 through July 1, 2025. She returned to work on July 2, 2025. Ms. Lydon is on maternity

13 leave. The parties have conferred; however, they need additional time to finalize an agreement

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     to a waiver of the attorney-client privilege. They agree that a modification of the briefing
15
     schedule is warranted for this reason. They thus request an extension of 10 days.
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17           5. Accordingly, the parties agree to modify the briefing schedule as follows: the

18 defendant’s response to the government’s motion for an order of waiver of the attorney-client

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     privilege at ECF No. 443, or a stipulation between the parties as to such waiver, is due July 17,
20
     2025.
21

22 IT IS SO STIPULATED.

23 Dated: July 7, 2025                                        MICHELE BECKWITH
24
                                                              Acting United States Attorney

25                                                            /s/ Katherine Lydon
                                                              KATHERINE LYDON
26                                                            Assistant United States Attorney
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     Dated: July 7, 2025                               /s/ Erin J. Radekin
 1
                                                       ERIN J. RADEKIN
 2                                                     Counsel for Defendant
                                                       SHARMISTHA BARAI
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 4
                                     [PROPOSED] ORDER
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           IT IS SO ORDERED this 11th day of July, 2025.
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